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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
                                  SPRINGFIELD DIVISION

MASSACHUSETTS FAIR HOUSING
  CENTER,
HOUSING WORKS, INC.,
       Plaintiffs,                                    No. 3:20-cv-11765-MGM
                v.                                    The Hon. Mark G. Mastroianni
U.S. DEPARTMENT OF HOUSING AND
   URBAN DEVELOPMENT,
BEN CARSON, Secretary of the U.S.
  Department of Housing and Urban
  Development,
       Defendants.

        [PROPOSED] ORDER GRANTING DEFENDANTS’ UNOPPOSED
     MOTION TO EXTEND TIME TO RESPOND TO PLAINTIFFS’ COMPLAINT
       Before this Court is Defendants’ unopposed motion to extend their time to respond to

Plaintiffs’ Complaint by 30 days. For good cause shown therein, Defendants motion is GRANTED,

and Defendants shall have until December 30, 2020, to respond to Plaintiffs’ Complaint.

       So Ordered.

       Dated: ________________



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                                  MARK G. MASTROIANNI
                              UNITED STATES DISTRICT JUDGE




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